                              CASE 0:21-cr-00245-NEB-JFD Doc. 57 Filed 04/19/22 Page 1 of 1
AO 187 (Rev. Locally 03/18) Exhibit List



                                                  UNITED STATES DISTRICT COURT
                                                         STATE AND                   DISTRICT OF                       MINNESOTA



              UNITED STATES OF AMERICA
                                                                                                                  EXHIBIT LIST
                         V.
              MUSE MOHAMUD MOHAMED                                                                                       Case Number: 21-245 (NEB/JFD)

PRESIDING JUDGE                                                        PLAINTIFF’S ATTORNEY                                    DEFENDANT’S ATTORNEY

                                                                             AUSA Angela M. Munoz
                Hon. Nancy E. Brasel                                                                                                 Charles F. Clippert, Esq.
                                                                            AUSA Kimberly A. Svendsen
TRIAL DATE (S)                                                         COURT REPORTER                                          COURTROOM DEPUTY
                        May 9, 2022                                                          Erin Drost                                   Kristine Wegner
 PLF.      DEF.        DATE
                                       MARKED         ADMITTED                                             DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

           D-1                                                        Secretary of State voter information from August 2020 primary




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                      Page 1 of     1   Pages
